1    Paul J. Riehle (SBN 115199)
     paul.riehle@faegredrinker.com
2    FAEGRE DRINKER BIDDLE & REATH LLP
     Four Embarcadero Center
3    San Francisco, California 94111
     Telephone: (415) 591-7500
4    Facsimile: (415) 591-7510
5    Christine A. Varney (pro hac vice)
     cvarney@cravath.com
6    Katherine B. Forrest (pro hac vice)
     kforrest@cravath.com
7    Gary A. Bornstein (pro hac vice)
     gbornstein@cravath.com
8    Yonatan Even (pro hac vice)
     yeven@cravath.com
9    M. Brent Byars (pro hac vice)
     mbyars@cravath.com
10   CRAVATH, SWAINE & MOORE LLP
     825 Eighth Avenue
11   New York, New York 10019
     Telephone: (212) 474-1000
12   Facsimile: (212) 474-3700
13   Attorneys for Plaintiff Epic Games, Inc.
14
                                     UNITED STATES DISTRICT COURT
15
                                   NORTHERN DISTRICT OF CALIFORNIA
16
                                          OAKLAND DIVISION
17
18
     EPIC GAMES, INC.,                                  No. 3:20-CV-05640-YGR
19
                                           Plaintiff,   DECLARATION OF M. BRENT
20                                                      BYARS IN FURTHER SUPPORT OF
                             vs.                        PLAINTIFF EPIC GAMES INC.’S
21                                                      MOTION FOR A TEMPORARY
     APPLE INC.,                                        RESTRAINING ORDER AND ORDER
22                                                      TO SHOW CAUSE WHY A
                                                        PRELIMINARY INJUNCTION
                                         Defendant.
23                                                      SHOULD NOT ISSUE

24                                                      Date: August 24, 2020, 3:00 p.m.
                                                        Courtroom: 1, 4th Floor
25
                                                        Judge: Hon. Yvonne Gonzalez-Rogers
26
27
28

     Declaration of M. Brent Byars                                       Case No. 3:20-cv-05640-YGR
1            I, M. Brent Byars, declare as follows:
2            1.      I am an attorney at the law firm of Cravath, Swaine & Moore LLP, and am one of
3    the attorneys representing Epic Games, Inc. in this action. I am admitted to appear before this
4    Court pro hac vice.
5            2.      I submit this declaration pursuant to the Court’s Order Permitting Limited Reply
6    Brief dated August 21, 2020 (ECF No. 38), and in further support of Plaintiff Epic Games, Inc.’s
7    Motion for a Temporary Restraining Order and Order to Show Cause Why a Preliminary
8    Injunction Should Not Issue (ECF No. 17). The contents of this declaration are based on my
9    personal knowledge and on information and documents provided to me by Epic Games, Inc. If
10   called as a witness, I could and would competently testify thereto.
11           3.      Apple maintains a Developer Program website through which application
12   developers may access information concerning their developer accounts. Attached as Exhibits A
13   through F are true and correct screenshots taken at my direction of the Membership Information
14   that is displayed when logged into the six separate developer accounts of Epic Games, Inc. and its
15   affiliates, reflecting for each account: (1) the “Team Name” or entity name, (2) the “Team ID” or
16   account number (redacting all but the last two characters), and (3) the entity’s address. In
17   addition, Epic Games, Inc. has a separate developer account through Apple’s Developer

18   Enterprise Program. Attached as Exhibit G is a true and correct screenshot taken at my direction

19   of the Membership Information displayed when logged into the Developer Enterprise Program

20   account belonging to Epic Games, Inc. According to Apple’s website, Apple charges an annual

21   fee of $99 for each developer account and an annual fee of $299 for each developer enterprise

22   account.

23           4.      For each developer account, Apple requires that the developer owning such

24   account agree to (1) an Apple Developer Agreement, and (2) an Apple Developer Program

25   License Agreement (or in the case of the Developer Enterprise Program, a Developer Enterprise

26   Program License Agreement). True and correct copies of these Agreements, corresponding to

27   each developer account held by Epic Games, Inc. and its affiliates, are attached as Exhibits H

28   through S. (I was not able to obtain prior to filing the Agreements from the developer account

      Declaration of M. Brent Byars                   2                        Case No. 3:20-cv-05640-YGR
1    belonging to one entity, Quixel AB, and these are not included.) These Agreements specify that
2    each Agreement is accepted by a developer when an agent of the developer “press[es] the ‘agree’
3    button” (e.g. Ex. H at 1) or “by downloading or using the Apple software or Apple services” (e.g.
4    Ex. I at 1).
5            5.      Attached as Summary Exhibit T is a summary of the Membership Information
6    pertaining to each separate developer account of Epic Games, Inc. and its affiliates, together with
7    an identification of the iOS mobile applications (if any) that have been published by each account
8    and that are listed as available (or, in the case of Fortnite, was available prior to August 13, 2020)
9    in Apple’s App Store. Summary Exhibit T also identifies each Exhibit where the (1) Developer
10   Agreement, and (2) Developer Program License Agreement (or Developer Enterprise Program
11   License Agreement) corresponding to each developer account may be found, and the dates on
12   which each Agreement was “accepted” according to the information on Apple’s Developer
13   Program website. Summary Exhibit T was prepared at and under my direction, and was reviewed
14   by me for accuracy.
15           6.      To access Apple application development tools, including Apple Software
16   Development Kits (“SDKs”) and other tools, Apple requires that individual and organizational
17   application developers (including Epic Games, Inc. and its affiliates) accept the Xcode and Apple

18   SDKs Agreement. A true and correct copy of the Xcode and Apple SDKs Agreement drawn

19   from Apple, Inc.’s website is attached as Exhibit U. Apple permits developers to access these

20   tools by “clicking ‘agree’ or by downloading, using or copying any part of this Apple software or

21   using any part of the Apple services”, which the Agreement deems to be acceptance of the

22   Agreement “on your own behalf and/or on behalf of your company or organization” (Ex. U at 1).

23   Summary Exhibit T also lists the Xcode and Apple SDKs Agreement entered into by Epic

24   Games, Inc. and its affiliates.

25           7.      Attached hereto as Exhibit V is a collection of true and correct copies of public

26   online posts and comments regarding Unreal Engine. The table below lists the links to the

27   original posts and comments, and the respective page numbers for each thread in the Exhibit.

28

      Declaration of M. Brent Byars                  3                          Case No. 3:20-cv-05640-YGR
1                                                       URL                                     Exhibit
      Source
2                                        (all last accessed Aug. 21, 2020)                       Pages
     Twitter      https://twitter.com/joshfromireland/status/1295445570044264448                   1
3    Twitter      https://twitter.com/ShiinaBR/status/1295439235135213568                          2
     Twitter      https://twitter.com/tomwarren/status/1295435205440921601                         3
4    Twitter      https://twitter.com/imranzomg/status/1295438968146685952                         4
5    Twitter      https://twitter.com/stroughtonsmith/status/1295512490944626689                   5
     Twitter      https://twitter.com/thisistechtoday/status/1295460091446009856                   6
6    Twitter      https://twitter.com/azurthedragon/status/1295728717227065345                     7
     Twitter      https://twitter.com/NeonIain/status/1295597899707908099                          8
7    Twitter      https://twitter.com/MrStrawberrie/status/1295440597054971906                     9
8    Twitter      https://twitter.com/Hrief988/status/1295439947395215360                         10
     Twitter      https://twitter.com/GamingReinvent/status/1295459203889467399                   11
9    Twitter      https://twitter.com/V03Angelos/status/1295455743462838273                       12
10
11           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

12   and correct and that I executed this declaration on August 23, 2020 in Brookhaven, New York.

13
14                                                      M. Brent Byars
15
16
17
18
19
20
21
22
23
24
25
26
27
28

      Declaration of M. Brent Byars                 4                          Case No. 3:20-cv-05640-YGR
